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Case: 3:17-cv-00025-NBB-JMV Doc #: 1 Filed: 02/09/17 19 of 25 PageID #: 19
Case: 3:17-cv-00025-NBB-JMV Doc #: 1 Filed: 02/09/17 20 of 25 PageID #: 20
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